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Patricia S. Dodszuweit
Clerk of Court
United States Court of Appeals for the Third Circuit
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Re:   MSN’s May 29 Letter (ECF25) in Novartis AG v. Novadoz
      Pharmaceuticals LLC, No. 25-1550 (3d Cir.)

       The Court should not entertain MSN’s improper letter request to hold in
abeyance Novartis’s emergency motion for Rule 8 relief. Absent court order, MSN
has made clear that by July 16, 2025, it plans to launch its generics—which MSN
conceded it deliberately made to look nearly identical to the combined size, shape,
and color of Novartis’s ENTRESTO®. Novartis filed its expedited motion just two
business days after the district court granted a stay pending appeal of its preliminary
injunction against MSN. MSN’s suggestion to hold Novartis’s motion in abeyance
is unfounded and would unfairly prejudice Novartis.

       First, MSN itself previously sought expedition and a schedule that would have
the appeal merits briefing completed by June 6. ECF5. Novartis responded on an
expedited basis, agreed to MSN’s merits-briefing schedule, and noted a faster
schedule could be needed if circumstances changed. ECF9.1 Yet MSN now would
have this Court delay past June 6 motions briefing on the question of whether to
restore the district court’s injunction during this appeal to maintain the status quo:
that Novartis has exclusive use of its trade dresses and MSN’s copycats have never
been on the market. Because the patent judgment preventing MSN from launching
before July 16 creates the same urgency that MSN previously recognized (ECF5 at
6-7), MSN’s flip-flopping should be rejected.



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       There is thus nothing “misleading” about Novartis’s statement reporting a
previous agreement to expedited merits briefing. MSN.Letter.1 n.1.
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       Second, MSN’s as-yet-unfiled motion for a limited remand cannot support
further delay. Novartis will oppose any such motion, including because the district
court already considered and declined to grant reconsideration. D.N.J.Dkt.51 at 4
n.1. Regardless, MSN’s hypotheticals about what might happen in response to a
series of unfiled appellate and district court motions provide no reason to delay
briefing on Novartis’s already-filed expedited Rule 8 motion. Instead, MSN should
be required to file any opposition to Novartis’s motion expeditiously, just as
Novartis did for similar MSN motions.

      MSN wanted this appeal to move promptly when it was enjoined pending
appeal. Novartis simply seeks similar expedition now that the district court has
stayed that injunction.


Dated: May 29, 2025                      Respectfully submitted,

                                         /s/ Deanne E. Maynard
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       CERTIFICATE OF COMPLIANCE AND BAR MEMBERSHIP

      The foregoing filing complies with the relevant type-volume, typeface, and

type style requirements of the Federal Rules of Appellate Procedure because it has

been prepared using a proportionally spaced typeface, including serifs, in 14-point

Times New Roman font using Microsoft Word and includes 350 words, excluding

the parts exempted by the Rules.

      Pursuant to Local Appellate Rules 28.3(d) and 46.1(e), I certify that I am an

active member in good standing of the Bar of the United States Court of Appeals

for the Third Circuit.

Dated: May 29, 2025                             /s/ Deanne E. Maynard
                                                    Deanne E. Maynard
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                             CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Third Circuit by using the

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Dated: May 29, 2025                                /s/ Deanne E. Maynard
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